Case 2:13-cv-07269-JMV-ESK Document 261 Filed 04/13/22 Page 1 of 6 PageID: 9703
Case 2:13-cv-07269-JMV-ESK Document 261 Filed 04/13/22 Page 2 of 6 PageID: 9704
Case 2:13-cv-07269-JMV-ESK Document 261 Filed 04/13/22 Page 3 of 6 PageID: 9705
Case 2:13-cv-07269-JMV-ESK Document 261 Filed 04/13/22 Page 4 of 6 PageID: 9706
Case 2:13-cv-07269-JMV-ESK Document 261 Filed 04/13/22 Page 5 of 6 PageID: 9707
Case 2:13-cv-07269-JMV-ESK Document 261 Filed 04/13/22 Page 6 of 6 PageID: 9708
